                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                  CRIMINAL NO. 3:02CR156-4


UNITED STATES OF AMERICA                        )
                                                )
                                                )
                VS.                             )               ORDER
                                                )
                                                )
DEBBIE ZIMMERMAN                                )
                                                )


        THIS MATTER is before the Court on the oral motion of the Defendant’s counsel to

continue the sentencing hearing from the July 27, 2005, calendar.

        The Court has been advised by the Defendant’s attorney that she has been called to begin

a jury trial before another judicial officer in this District and will be unavailable for the

sentencing hearing.

        IT IS, THEREFORE, ORDERED that the oral motion of Defendant’s counsel to

continue is hereby ALLOWED, and this case is continued from the July 27, 2005, calendar.

        IT IS FURTHER ORDERED that this case is rescheduled for sentencing on

TUESDAY, AUGUST 9, 2005, AT 2:00 PM in Asheville, North Carolina.




   Case 3:02-cr-00156-MOC-DSC                Document 317         Filed 07/26/05      Page 1 of 2
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                         Signed: July 26, 2005




Case 3:02-cr-00156-MOC-DSC   Document 317        Filed 07/26/05   Page 2 of 2
